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 1                                                            THE HONORABLE BENJAMIN H. SETTLE

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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
     COMMANDER EMILY SHILLING, et al.,                             No. 2:25-cv-00241 BHS
 9
                         Plaintiffs,                               CERTIFICATE OF SERVICE OF
10                                                                 COMPLAINT, SUMMONS, AND
                v.                                                 AMENDED CORPORATE
11                                                                 DISCLOSURE STATEMENT
12   DONALD J. TRUMP, in his official capacity as
     President of the United States, et al.,
13
                         Defendants.
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     CERTIFICATE OF SERVICE                   Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                       1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
     2:25-CV-00241-BHS                 Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                             Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                              Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
            Case 2:25-cv-00241-BHS              Document 90               Filed 03/20/25         Page 2 of 6




 1          I, Matthew P. Gordon, declare under penalty of perjury under the laws of the State of

 2   Washington and of the United States of America that I am a resident of the State of Washington,

 3   over the age of eighteen (18) years, not a party to the above-entitled action, and competent to be a

 4   witness herein.

 5          On February 13, 2025, I caused a copy of the following documents:

 6          1.         Complaint for Declaratory and Injunctive Relief (Dkt. No. 1);

 7          2.         Civil Cover Sheet (Dkt. No. 1-1);

 8          3.         Court-Issued Summonses (Dkt. No. 3); and

 9          4.         Plaintiff Gender Justice League’s Amended Corporate Disclosure Statement (Dkt.

10   No. 11);

11   to be served by process server Proof Serve upon the United States of America by hand-delivery at

12   approximately 2:09 p.m. upon:

13
            Rebecca S. Cohen
14          Brian C. Kipnis
            Assistant U.S. Attorneys
15          U.S. Attorney’s Office
16          Western District of Washington
            700 Stewart Street, Suite 5220
17          Seattle, Washington 98101-1271

18
            Attached hereto as Exhibit A is an Affidavit of Service from Proof Serve, signed by
19
     registered agent Yohelia Caba-Mota.
20
            On February 13, 2025, I caused a copy of the following documents:
21
            1.         Complaint for Declaratory and Injunctive Relief (Dkt. 1);
22
            2.         Civil Cover Sheet (Dkt. 1-1);
23
            3.         Court-Issued Summonses (Dkt. 3); and
24
            4.         Plaintiff Gender Justice League’s Amended Corporate Disclosure Statement (Dkt.
25
     11);
26

     CERTIFICATE OF SERVICE                     Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                         1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
     2:25-CV-00241-BHS - 2               Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                               Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                                Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
            Case 2:25-cv-00241-BHS            Document 90               Filed 03/20/25         Page 3 of 6




 1   to be served upon the United States of America and Donald J. Trump via registered and certified

 2   mail, addressed as follows:

 3          United States of America
 4          Via Department of Justice
            950 Pennsylvania Avenue NW
 5          Washington, D.C. 20530

 6          Donald J. Trump
            President of the United States
 7          The White House
 8          1600 Pennsylvania Avenue NW
            Washington, D.C. 20500
 9
            Attached hereto as Exhibit B is a copy of the certified mail receipt, registered return
10
     receipt, and proof of delivery from the United States Postal Service showing service on Defendant
11
     United States of America on February 20, 2025, pursuant to Fed. R. Civ. P. 4(i)(1)(A)(ii).
12
            Attached hereto as Exhibit C is a copy of the certified mail receipt, registered return
13
     receipt, and proof of delivery from the United States Postal Service showing service on Defendant
14
     Donald J. Trump on February 25, 2025, pursuant to Fed. R. Civ. P. 4(i)(1)(A)(ii).
15
            On February 13, 2025, I caused a copy of the following documents:
16
            1.      Complaint for Declaratory and Injunctive Relief (Dkt. 1);
17
            2.      Civil Cover Sheet (Dkt. 1-1);
18
            3.      Court-Issued Summonses (Dkt. 3); and
19
            4.      Plaintiff Gender Justice League’s Amended Corporate Disclosure Statement (Dkt.
20
     11);
21
     to be served upon the United States Department of Defense and Secretary Hegseth via registered
22
     and certified mail, addressed as follows:
23

24          United States Department of Defense
            Office of the General Counsel
25          1600 Defense Pentagon
            Washington, D.C. 20301-1600
26

     CERTIFICATE OF SERVICE                   Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                       1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
     2:25-CV-00241-BHS - 3             Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                             Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                              Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
             Case 2:25-cv-00241-BHS             Document 90               Filed 03/20/25         Page 4 of 6




 1           Peter B. Hegseth
             United States Secretary of Defense
 2           1000 Defense Pentagon, Room 3E880
 3           Washington, D.C. 20301

 4           Attached hereto as Exhibit D is a copy of the certified mail receipt, registered return

 5   receipt, and proof of delivery from the United States Postal Service showing service on Defendant

 6   United States Department of Defense on February 20, 2025, pursuant to Fed. R. Civ. P.

 7   4(i)(1)(A)(ii).

 8           Attached hereto as Exhibit E is a copy of the certified mail receipt, registered return

 9   receipt, and proof of delivery from the United States Postal Service showing service on Defendant

10   Peter B. Hegseth on February 20, 2025, pursuant to Fed. R. Civ. P. 4(i)(1)(A)(ii).

11           On February 13, 2025, I caused a copy of the following documents:

12           1.        Complaint for Declaratory and Injunctive Relief (Dkt. 1);

13           2.        Civil Cover Sheet (Dkt. 1-1);

14           3.        Court-Issued Summonses (Dkt. 3); and

15           4.        Plaintiff Gender Justice League’s Amended Corporate Disclosure Statement (Dkt.

16   11);

17   to be served upon the United States Department of Army via registered and certified mail,

18   addressed as follows:

19           United States Department of the Army
             Office of the Secretary of the Army
20           101 Army Pentagon
             Washington, D.C. 20310
21

22           Attached hereto as Exhibit F is a copy of the certified mail receipt, registered return

23   receipt, and proof of delivery from the United States Postal Service showing service on Defendant

24   United States Department of the Army on February 20, 2025, pursuant to Fed. R. Civ. P.

25   4(i)(1)(A)(ii).

26

      CERTIFICATE OF SERVICE                    Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                         1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
      2:25-CV-00241-BHS - 4              Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                               Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                                Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
            Case 2:25-cv-00241-BHS            Document 90               Filed 03/20/25         Page 5 of 6




 1          On February 13, 2025, I caused a copy of the following documents:

 2          1.      Complaint for Declaratory and Injunctive Relief (Dkt. 1);

 3          2.      Civil Cover Sheet (Dkt. 1-1);

 4          3.      Court-Issued Summonses (Dkt. 3); and

 5          4.      Plaintiff Gender Justice League’s Amended Corporate Disclosure Statement (Dkt.

 6   11);

 7   to be served upon the Mark Averill, United States Department of the Navy, Terence Emmert,

 8   United States Department of the Air Force, and Gary Ashworth via certified and registered mail,

 9   addressed as follows:

10          Mark Averill
            Acting Secretary of the United States Army
11          101 Army Pentagon
            Washington, D.C. 20310
12

13          United States Department of the Navy
            1000 Navy Pentagon
14          Washington, D.C. 20350

15          Terence Emmert
            Acting Secretary of the United States Navy
16          1000 Navy Pentagon
17          Washington, D.C. 20350

18          United States Department of the Air Force
            1670 Air Force Pentagon
19          Washington, D.C. 20330
20          Gary Ashworth
21          Acting Secretary of the United States Air Force
            1670 Air Force Pentagon
22          Washington, D.C. 20330

23          Certified registered return receipts from the United States Postal Service showing service

24   on the remainder of the foregoing defendants, Mark Averill, United States Department of the Navy,

25   Terence Emmert, United States Department of the Air Force, and Gary Ashworth have not yet

26   been received and will be provided in a supplemental Certificate of Service.

     CERTIFICATE OF SERVICE                   Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                       1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
     2:25-CV-00241-BHS - 5             Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                             Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                              Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
           Case 2:25-cv-00241-BHS          Document 90               Filed 03/20/25         Page 6 of 6




 1   DATED this 20th day of March, 2025.
 2                                         By: s/ Matthew P. Gordon
                                               Matthew P. Gordon, WSBA No. 41128
 3                                             MGordon@perkinscoie.com
                                               Perkins Coie LLP
 4
                                               1201 Third Avenue, Suite 4900
 5                                             Seattle, Washington 98101-3099
                                               Telephone: 206.359.8000
 6                                             Facsimile: 206.359.9000

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     CERTIFICATE OF SERVICE                Perkins Coie LLP              Lambda Legal Defense and            Human Rights
                                    1201 Third Avenue, Suite 4900           Education Fund, Inc.          Campaign Foundation
     2:25-CV-00241-BHS - 6          Seattle, Washington 98101-3099        120 Wall Street, 19th Floor   1640 Rhode Island Ave NW
                                          Phone: 206.359.8000            New York, NY. 10005-3919        Washington, D.C. 20036
                                           Fax: 206.359.9000               Telephone: 212.809.8585         Phone: 202.527.3669
